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16      Individual NFL Clubs
17                                  UNITED STATES DISTRICT COURT
18                               CENTRAL DISTRICT OF CALIFORNIA
19
        IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
20
        LEAGUE’S “SUNDAY TICKET”                        DECLARATION OF RAKESH N.
21      ANTITRUST LITIGATION                            KILARU IN SUPPORT OF NFL
        ______________________________                  DEFENDANTS’ RESPONSE IN
22                                                      OPPOSITION TO PLAINTIFFS’
                                                        MOTION FOR
23      THIS DOCUMENT RELATES TO:                       RECONSIDERATION
24      ALL ACTIONS                                     Judge: Hon. Philip S. Gutierrez
25                                                      Courtroom:
                                                              First Street Courthouse
26                                                            350 West 1st Street
27                                                            Courtroom 6A
                                                              Los Angeles, CA 90012
28
       Case No. 2:15-ml-02668-PSG (SKx)        Declaration of Rakesh N. Kilaru in Support of NFL Defendants’
                                               Response In Opposition To Plaintiffs’ Motion For Reconsideration
     Case 2:15-ml-02668-PSG-SK Document 1437-1 Filed 06/19/24 Page 2 of 2 Page ID
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1              I, Rakesh N. Kilaru, declare as follows:
2              I am a partner at the law firm of Wilkinson Stekloff LLP and represent the NFL
3      Defendants in this litigation. I submit this declaration in support of NFL Defendants’
4      Response in Opposition to Plaintiffs’ Motion for Reconsideration. I have personal
5      knowledge of the facts set forth in this declaration and, if called as a witness, could and
6      would testify competently thereto. I am admitted pro hac vice to practice before the
7      United States District Court for the Central District of California in this litigation.
8         1. Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the
9               deposition transcript of Plaintiff expert Einer R. Elhauge, dated July 6, 2023.
10        2. Attached hereto as Exhibit 2 is a true and correct copy of an email chain between
11              counsel for the parties dated June 19, 2024.
12

13        I declare under penalty of perjury under the laws of the United States of America
14     that the foregoing is true and correct.
15           EXECUTED on this 19th day of June 2024 in Los Angeles, CA.
16

17
       Dated: June 19, 2024                      Respectfully submitted,
18

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20                                               /s/ Rakesh N. Kilaru
                                                 Rakesh N. Kilaru (admitted pro hac vice)
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                                                      1
          Case No. 2:15-ml-02668-PSG (SKx)       Declaration of Rakesh N. Kilaru in Support of the Memorandum in
                                                 Support of NFL Defendants’ Motion for Summary Judgment
